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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


Walter Simpson

                                          v.
                                                          Civil No. 13-cv-549-JD
Merrimack County Department of Corrections,
Superintendent, et al.




                                       JUDGMENT


       In accordance with the Orders dated April 10 and June 25, 2014, by District Judge Joseph

A. DiClerico, Jr., judgment is hereby entered.

                                                  By the Court,


                                                  ____________________________
                                                  Daniel J. Lynch
                                                  Clerk of Court


Date: June 25, 2014

cc:    Walter Simpson, pro se
       John A. Curran, Esq.
